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Cruz v. Guevara, et al.
Case No.: 23 CV 4268




                             EXHIBIT A
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       What happened during Cruz’s criminal case is central to his claims in the federal lawsuit.

For example, one of the ultimate questions in the federal lawsuit is whether there was probable

cause for Cruz’s arrest and prosecution. In the underlying criminal case, Cruz was indicted by a

grand jury. An indictment by a grand jury is prima facie evidence that there was probable cause.

Wade v. Collier, 783 F.3d 1081, 1085 (7th Cir. 2015). Cruz can rebut this presumption by

presenting evidence that Petitioners obtained the indictment through improper or fraudulent

means. Id. Therefore, transcripts of the grand jury proceedings, which contain a record of the

evidence and testimony presented, are central to Cruz’s claims and Petitioners’ defenses.

       Additionally, the grand jury materials will shed light on: (1) Cruz’s guilt or innocence, (2)

which officers and witnesses were interviewed by the Cook County State’s Attorney (“CCSAO”)

before Cruz’s indictment, (3) the knowledge and information the CCSAO had at the time the

indictment was sought, (4) whether evidence was fabricated, and (5) whether witnesses were

coerced. These matters are squarely at issue in the federal lawsuit.

       Petitioners thus have a compelling and particularized need for the grand jury materials.

Without the grand jury materials, Petitioners will be prevented from presenting a fulsome and

effective defense to the claims against them. Additionally, the grand jury materials are necessary

for impeachment, refreshing the recollections of witnesses, and testing witnesses’ credibility.

Petitioners would be greatly prejudiced if they were denied this crucial evidence for their defense.

       The reasons for keeping the grand jury materials secret in this case are no longer

compelling. The grand jury proceedings in this case occurred over twenty-eight years ago, and the

jurors have been long since discharged. Cruz has been tried, convicted, sentenced, and released.

At this juncture, there is no concern that Cruz will escape from custody, that the grand jury’s

deliberations will be improperly influenced, that witnesses will commit perjury before the grand



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jury or at the criminal trial, or that witnesses will be discouraged from testifying freely.

Additionally, there is no reason to protect Cruz from unwarranted exposure. He has already brought

exposure by filing a federal lawsuit.

       The grand jury materials in this case are necessary to prevent a substantial injustice in the

federal lawsuit. At this stage, over twenty-eight years after the indictment, the need for disclosure

far outweighs the need for continued secrecy. Petitioners’ request is narrowly tailored to cover only

those materials needed for defense of the federal claims. Petitioners are only seeking the grand

jury materials from this criminal case. For all of these reasons, Petitioners respectfully request that

this Honorable Court grant this Motion, and enter the attached proposed order allowing Petitioners

to obtain the grand jury materials in this case. (Ex. A, Proposed Order.)

                                   FACTUAL BACKGROUND

       On October 6, 1993, Antwane Alfonso Douglas (“Douglas”) and Vernon Jay Meadors

(“Meadors”) were shot while standing near the intersection of North and Kedzie in Chicago.

Douglas died from his wounds. After an investigation by Chicago police and the CCSAO, Jose

Cruz was charged and later indicted by a grand jury. On January 30, 1996, Cruz was convicted of

the first-degree murder of Douglas and the attempted murder of Meadors. Cruz was sentenced to

ninety years in prison. On July 11, 2022, Cook County Circuit Court Judge Tyria Walton vacated

Cruz’s conviction and dismissed his indictment. Cruz was released from prison the next day.

       On July 4, 2023, Cruz filed a federal lawsuit against Reynaldo Guevara, Anthony Wojcik,

Robert Rutherford, Anthony Riccio, Robert Boris, Stephen Gawrys, Sergeant Edward Mingey,

Ernest Halvorsen (through his estate), Assistant Cook County State’s Attorney Edward Maloney,

and the City of Chicago, in United States District Court for the Northern District of Illinois, styled

Jose Cruz v. Reynaldo Guevara, et al., Case No. 23-cv-04268 (the “Civil Action”) See, Ex. B, First



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Amended Complaint. In the Civil Action, Cruz alleges that the Petitioner Chicago Police officers

who investigated the shootings of Douglas and Meadors violated his civil rights and caused his

alleged wrongful conviction. The allegations of the Civil Action include, inter alia, violations of

due process, withholding exculpatory evidence, malicious prosecution, unlawful detention, failure

to intervene, conspiracy to violate constitutional rights, intentional infliction of emotional distress,

and willful and wanton conduct. Petitioners bring the present Motion to Release Grand Jury

Materials, including transcripts and subpoenas in this case, for use in the Civil Action.

                                            ARGUMENT

I.      Petitioners Have a Compelling and Particularized Need for the Grand Jury Materials

        This Court should permit the disclosure of the grand jury materials in this case because

Petitioners have a compelling and particularized need which vastly outweighs any continued need

for secrecy. Section 112-6(b)(3) of the Illinois Code of Criminal Procedure states that grand jury

materials may be disclosed “when the court, preliminary to or in connection with a judicial

proceeding, directs such in the interest of justice or when the law so directs.” 725 ILCS 5/112-

6(b)(3). In deciding whether to permit disclosure, Illinois courts apply a three-pronged test: (1)

whether the material is needed to avoid a possible injustice in another judicial proceeding; (2)

whether the need for disclosure is greater than the need for continued secrecy; and (3) whether the

request is structured to cover only the materials needed. Board of Educ. v. Verisario, 143 Ill. App.

3d 1000, 1010-11 (2nd Dist. 1986); see also Douglas Oil Co. v. Petrol Stops Northwest, 441 U.S.

211, 222 (1979) (“Parties seeking grand jury transcripts under [Fed. R. Crim. Pro.] 6(e) must show

that the material they seek is needed to avoid a possible injustice in another judicial proceeding,

that the need for disclosure is greater than the need for continued secrecy, and that their request is

structured to cover only material so needed.”) In this case, all three prongs favor disclosure.



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       The grand jury materials in this criminal case are crucial to the Civil Action. For example,

one of the ultimate questions in the Civil Action is whether there was probable cause for Cruz’s

arrest, detention, and prosecution. The existence of probable cause defeats many of Cruz’s claims.

See e.g., Haynes v. City of Chicago, 2022 WL 1016392, *2 (N.D. Ill. Apr. 5, 2022) (“The existence

of probable cause defeats an unlawful detention claim.”); Johnson v. Target Stores, Inc., 341 Ill.

App. 3d 56, 73 (1st Dist. 2003) (“[T]he failure to prove a lack of probable cause is fatal to a claim

of malicious prosecution.”).

       “[T]he purpose of the grand jury is to decide whether probable cause exists such that a

charge should be brought.” People v. O’Dette, 2017 IL App (2d) 150884, ¶ 67. An Illinois grand

jury indictment is prima facie evidence of probable cause. Coleman v. City of Peoria, Illinois, 925

F.3d 336, 351 (7th Cir. 2019). In this case, Cruz was indicted by a grand jury. This is prima facie

evidence of probable cause that can only be rebutted by evidence that the Petitioners obtained the

indictment through improper or fraudulent means. Id. Therefore, the grand jury materials are

necessary to show what evidence and testimony were presented to obtain the indictments.

       The materials also will reveal the evidence that Petitioners had available at the time and

that formed their good faith basis for the existence of probable cause. This is critical to the

Petitioner officers’ affirmative defense of qualified immunity. Thus, the entirety of the grand jury

materials in this case is relevant to the claims and defenses in the Civil Action. If Petitioners are

denied access to the grand jury materials it will cause a substantial injustice and Petitioners will

be severely prejudiced.

       The grand jury materials also are needed for impeachment, refreshing witnesses’

recollection, and testing credibility. See In re Cement-Concrete Block, Chicago Area, 381 F. Supp.

1108, 1110 (N.D. Ill. 1974) (permitting disclosure of grand jury transcripts to attorneys in



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subsequent civil case “for use in litigation only for purposes of impeachment, refreshing the

witnesses’ recollection, and testing credibility”). In this case, multiple witnesses identified Cruz as

a shooter. Upon information and belief, one or more of these witnesses may have testified before

the grand jury. The grand jury transcripts are therefore necessary to refresh these witnesses’

recollections and for impeachment in the Civil Action if necessary.

       Additionally, the surviving victim of the shooting, Meadors, passed away in 2020. During

the initial investigation of the shooting, Meadors identified Cruz as a shooter to Petitioner officers.

Petitioners do not know if the State presented Meadors for testimony at the grand jury. If he did

testify, this testimony will be especially important because he is no longer available to testify in

the Civil Action.

       Furthermore, the grand jury materials will shed light on Cruz’s guilt or innocence, which

officers and witnesses were interviewed by the CCSAO, what knowledge and information the

CCSAO had prior to seeking the indictment, whether evidence was fabricated, and whether

witnesses were coerced. This is all highly relevant to Cruz’s claims in the Civil Action. For all of

these reasons, there is a compelling and particularized need for the grand jury materials in the Civil

Action and they should be released.

II.    There is No Compelling Need for the Continued Secrecy of the Grand Jury Materials

       Considering this criminal case’s age and ultimate conclusion, there is no compelling need

for the continued secrecy of the grand jury materials. Grand jury proceedings are kept secret for

the following reasons: (1) to prevent the escape of an indicted person; (2) to ensure the grand jury

freedom; (3) to prevent perjury of witnesses before the grand jury and later at the criminal trial;

(4) to encourage witnesses to freely testify about the commission of crimes; and (5) to protect an




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innocent person who is accused but exonerated against unwarranted exposure. Verisario, 143 Ill.

App. 3d at 1010-11. None of these reasons is compelling here.

       In this case, the grand jury returned its indictment in the mid-1990s. There is no fear that

Cruz will flee, that the grand jury deliberations will be improperly influenced, or that witnesses

will testify falsely before the grand jury or at the criminal trial. The release of the grand jury

materials, after a delay of twenty-eight years, will do little to discourage witnesses from testifying

freely. To be sure, any testimony by the now-deceased victim of the underlying crime has become

more crucial in light of his death. Furthermore, there is no need to protect the privacy of the accused

because Cruz was indicted. See Verisario, 143 Ill. App. 3d at 1011 (“The fifth reason is inapplicable

where the accused is indicted.”). Indeed, it is Cruz himself who brought attention to his criminal

case by filing a federal lawsuit. For all of these reasons, there is no compelling need for continued

secrecy, and the grand jury materials should be released.

III.   Petitioners Seek Indispensable Materials

       Petitioners seek these grand jury materials needed for their defense in the Civil Action.

Cruz has put his criminal case (including the grand jury proceedings) at issue by filing the Civil

Action and accusing Petitioners of, inter alia, arresting and prosecuting him absent probable cause.

See Anilao v. Spota, 918 F. Supp. 2d 157, 164 (E.D.N.Y 2013) (holding that all of the grand jury

materials were “indispensable” to addressing probable cause determinations at issue in false arrest

and malicious prosecution claims). As explained, supra, Petitioners seek the grand jury materials

here because they are relevant and indispensable to the Civil Action.

IV.    This Court Consistently Allows Parties to Obtain Grand Jury Materials in Reversed
       Conviction Cases

       In reversed conviction civil cases such as the Civil Action, courts consistently permit

parties to obtain grand jury materials including transcripts from the underlying criminal cases,

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even when the CCSAO objects. See e.g., Orders granting motion to obtain grand jury materials in

reversed conviction civil cases, People v. Jaime Rios, Case No. 1989 CR 16525 (May 23, 2023)

Ex. C; People v. Iglesias, Case No. 1993 CR 15199 (March 25, 2022) Ex. D; People v. D. Johnson,

Case No. 1991 CR 19833 (January 12, 2022) Ex. E; People v. C. Johnson, 1996 CR 497 (July 26,

2019) Ex. F. In this case, the claims in the Civil Action are similar or identical to those in the cases

cited above, and, accordingly, should be released here for the same reasons.

   V.      Cruz Does Not Oppose This Motion

        On March 7, 2024, Mr. Cruz's counsel in the Civil Action indicated that Mr. Cruz does not

oppose this Motion.

                                          CONCLUSION

        WHEREFORE, Petitioners respectfully request that this Honorable Court enter an order

releasing the grand jury materials in this case, and allowing the Public Defender’s Office and Cook

County State’s Attorney’s Office to produce the grand jury materials in their possession to

Petitioners, and allowing the transcription of the proceedings by Official Court Reporters to be

produced to Petitioners.

Dated: March 8, 2024                           RESPECTFULLY SUBMITTED,

s/ Catherine M. Barber                          /s/ Jeffrey C. Grossich
CATHERINE M. BARBER                            JEFFREY C. GROSSICH, Atty No. 6316511
One of the Attorneys for Defendant             One of the Attorneys for Defendant Wojcik, Riccio
City of Chicago                                Rutherford, Boris, Gawrys, Mingey, and Yanow

Eileen E. Rosen                                James G. Sotos
Theresa B. Carney                              Josh M. Engquist
Austin G. Rahe                                 Lisa M. Meador
Catherine M. Barber                            Alexis M. Gamboa
Lauren M. Ferrise                              Jeffrey C. Grossich
Andrew Grill                                   THE SOTOS LAW FIRM, P.C.
Jessica Zehner                                 141 W. Jackson Blvd., Suite 1240A
ROCK FUSCO & CONNELLY, LLC                     Chicago, IL 60604
333 W. Wacker, 19th Floor                      Tel: (630) 735-3300

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Chicago, IL 60606                    jgrossich@jsotoslaw.com
P: (312) 494-1000
cbarber@rfclaw.com

/s/ Emily E. Schnidt                 s/ Kevin C. Kirk
EMILY E. SCHNIDT                     KEVIN C. KIRK
One of the Attorneys for Defendant   One of the attorneys for Edward Maloney
Guevara

Steven B. Borkan                     William B. Oberts
Timothy P. Scahill                   Kevin C. Kirk
Graham P. Miller                     Tribler Orpett and Meyer, P.C.
Emily E. Schnidt                     225 West Washington St., Suite 2550
Molly Boekeloo                       Chicago, IL 60606
Borkan & Scahill, Ltd.               P: (312) 201-6400
20 S. Clark St., Suite 1700          kckirk@tribler.com
Chicago, Illinois 60603
P: (312) 580-1030
eschnidt@borkanscahill.com




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                               CERTIFICATE OF SERVICE

       I hereby certify that on March 8, 2024, I filed the foregoing Motion to Release Grand
Jury Materials with the Clerk of the Court and will send notification of such filing to the
following participants listed on the below Service List via email:

Attorneys for Plaintiff
Stuart J. Chanen (Stuart@ChanenOlstein.com)
Ariel Olstein (Ariel@ChanenOlstein.com)
CHANEN & OLSTEIN LLP
7373 Lincoln Ave., Suite 100
Lincolnwood, IL 60712
P: 847-469-4669

Jack Samuel Tenenbaum
Northwestern Pritzker School of Law
375 E. Chicago Ave., Suite 411
Chicago, IL 60611
P: 312-503-4808
s-tenenbaum@law.northwestern.edu

Attorneys for the City of Chicago
Eileen E. Rosen (erosen@rfclaw.com)
Andrew J. Grill (agrill@rfclaw.com)
Austin G. Rahe (arahe@rfclaw.com)
Catherine M. Barber (cbarber@rfclaw.com)
Jessica Zehner (jzehner@rfclaw.com)
Lauren M. Ferrise (lferrise@rfclaw.com)
Theresa B. Carney (tcarney@rfclaw.com)
Rock, Fusco & Connelly
333 West Wacker Drive, 19th Floor
Chicago, IL 60606
P: (312) 494-1000

Attorneys for Reynaldo Guevara
Steven B. Borkan (Sborkan@borkanscahill.com)
Timothy P. Scahill (tscahill@borkanscahill.com)
Graham P. Miller (gmiller@borkanscahill.com)
Emily E. Schnidt (eschnidt@borkanscahill.com)
Molly Boekeloo (mboekeloo@borkanscahill.com)
Whitney Hutchinson (whutchinson@borkanscahill.com)
Mischa Itchhaporia (mitchhaporia@borkanscahill.com)
Krystal Gonzalez (kgonzalez@borkanscahill.com)
Borkan & Scahill
20 S. Clark Street, Suite 1700
Chicago, IL 60603

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P: (312)-580-1030

Attorneys for Edward Maloney
William B. Oberts (wboberts@tribler.com)
Kevin C. Kirk (kckirk@tribler.com)
Tribler Orpett and Meyer, P.C.
225 West Washington St., Suite 2550
Chicago, IL 60606
P: (312) 201-6400

                                           /s/ Jeffrey C. Grossich
                                           JEFFREY C. GROSSICH




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